Case 1:20-cv-00392Z,SES ERocunmnr tes Filed-es/1Aize TPagek oRZ7
. MEPPLE DISTRICT oF PENNSYLVANTZA

OWN SONSENT, I, NO. / 2 A2O-CV-ROO3TZ

Plaintc€
| Hon. Sudjae SCHWAB
Vee
1] Jury Tatac DemanDeED
FILED
PP) LEBANGN CounTYy PENNSYLVANLA WILLIAMSPORT
H MAY {4 2020
2) RowerT 3) PHTLLLPs , County Commissioner sie ———_Kete2

 

 

Marc inG ADDRESS < LEBANON) MuntcrPAd BULLDING, 41/00 5 OE SFE Stree,

Roam ~207 || LEBANON ) PA 17042

3) Wrecram| Ames, County CommrssreneR
MaricnG AbDsess: Leeawon MunzerPac BurinznG, 400 South S™ STREET, Room

207, LEBANON PA 12042

4) Je Ellen Lez, , County CommrssTonéR
MALLING ADDRESS! LeBANen MunzerPAL BuriprNnG, 100 SouTH B™ STREET , Koom*

AC7, LEBANON , PA [2eY2

5) Samre WolG@eMurtH , County ADMENESTRATOR

MArLcNnG Address: LeBANon MunxerPaAc BuripLronG, 100 Sour QT SFREET,

)

Koom *207 \| LEBANON, PA 1204R

G)Rowerr 5. Karnes, Waren oF Lepanon County CorRecTronal FaAczer TY (L.0.0.F}
Mari znG, ADRRESS 730 East Wataut STREET, Lesanen ,PA_!2042

7) Axton 3. HAUCK DEPUTY WARDEN of TreaTMENT eF L,C.C.F.
MALLING, ADDRESS « "730_EasT WALNUT STREET, LEBANON ,PA_( 207A Wee *
Case 1:20-cv-00392-SES Document 12 Filed 05/14/20 Page 2 of 27

g) SACQUELINE MATIAS , FoRMER- LPN MeEprcAL SPERVESOR 6F 2.C.C.F:
Last KNowN MALLING, ADDRESS 2 730 East WALNUT STREET, LEBANOA, PA 17042

1) BRENDA CRESINT) FoRmen BusenBss ManaGeéR of L.C.C.F,
Last Kuown| MALLING ADDRESS‘ 730 Aasr Watnut sTaeer, Lebanew, PA 17042

10) Erre Gi FOLTON , CutLrNArRY SUuPERVESOR at 4.C.C.F.
MAILING ADDRESS; ‘730 East Watnur STREET, LEBANON , FA (2042

11) Correctional OFFZCER KANE , Curtnary AssIsTANT of L.C.C. F.
MAtcENG ADDRESS: 730 Zast WALNUT STREET, Lebanon, FA 172042

12) DR. PEVIN PoweRSs ; eee PSYCHEATREST oF L.C.C.F.
Last Known PIALLING, ADDRESS > 730 Easr WALNUT STREET, LEBANON, PA (2042

13) SARAH ARDEIRE , Former ConTRAcT PSYCHOLOGIST of L.C.C.F,
Last KNown)| P1IALLING ADDRESS? 770 44st WALNUT SPREET, Leeanen, PA 12042

/4) Regecca| Davzs, Correctzenar CounseioR MT L.0.C.F,
(MAILING ADDRESS + 230 East WaLNuT STREET, LEBANON , PA 742

IS) Joun SANTONZ , Former SERGEANT oF CoRRECTTONAL OFFECERS AT LCL,
LAST KNowy |MATLENG, ADDRESS « 730 Fast Watnut STREET, LEBANON, PA 17042

16) ALExa LOYOLA, CorREcTTONAL OFFECER AT L.C.CcF,
MATLING, ADDRESS: 730 East WaLnuT STREET , LEBANON , PA / 2042

17) Correcrtonal OFFECER Known As Nasar /NASER AT _L.C.C.F,
MATLENG. ADDRESS: 730 EAST WALNUT STREET, LEBANON , fA 17042 MAGE FR
Case 1:20-cv-00392-SES Document 12 Filed 05/14/20 Page 3 of 27

1S) ANGELA GARBAZ , Formen Nuasé oF L.C.C.F.
LAST MAZUENG, ADDRESS’ 730 Easr Watnut STREET, LEBANON, PA 17042

19) ‘RoBeERTA BARRETTE, Nurse ar L.C.CeF.
MATLENG |ADDRESS! “730 BasT WALNUT STREET, LEBANON PA /TO4R

ao) Tammy, ) Es oR Was 4A Nursé AT L.C.C.F.
Last KNowN MAILZNG ADDRESS! 730 EAST Watnur STREET, LEBAAMA), PA 12042

al) CorRECTPOnNAL OFFICER BBY, Conrecrional OFFrcéR AT L.C.C.F.
MALLING, ADDRESS! 730 EAST WALNUT STREFT, LEGANON ) FA 7 7O4R

a2) TrmorHy CLEMENTS, Former DePuTY WARDEN CF CPERATZONS AT L-S+C.F,
LAST Known /Iarcrcne, ADDRESS: 730 EasT WALNUT STREET, LEBANON, PA 12042

23) UNKNowN Nurses/Mepecat STAPF EMPLOYED AT L.C:C:F, DURENG OcToBFER 3)

aol To MARCH AS, Aol.
LAST KwowN |MarccnG, ADPRESS * 739 EAST WALNUT STREET, LEBANON, FA 17°4R

24) UNsKNowN CoRREcrionac OFFICERS. SoHN DOES SB CoRRECTrONAL OFFECERS AT LGA.
Last Kiown Marien, Abpkess! 730 Eusr Waenut STREET, LEBANON, FA 12042

Plaintifé brings +his eetion against the above named anol identified defendant),

including defendant(s) <TeHN and JANE DeES, who are sued under fictitious names
as their 4+rue names and Capacities ate yet unknown to the PlaratiCC and whe will

be icentiFiedl by their true names auct Capaetties tn_an amended complarat te be
Feled by the |PlaintiGl once they are ascertatnedt, onthe following cause of action,
Case 1:20-cv-00392-SES Document 12 Filed 05/14/20 Page 4 of 27

Delendanty Ft through au are incorporated in_ their OPRicial and Endividual/
Personal Capacities as pecmittecdl by Lawe

Ti Plaintiff fs currently confined at State Correctronal LTastitution
Greene, /G4 Progress Drive, Waynesburg , PR _/5 370

A. | Plaintif€ is currently serving a term of one C4) to five CS) years
fo \\owedt by lo cone C!) +o two C2) year sentence jn & S$§.C-T.

Ba} PlaintiGe’s sentence Was imposed by the Court oF Com Mien PLEAS OF
LEBANON CouNTY ) PENNSY. VANEA «

IT.WA prier action was Filed in the Court of Commen Pleas of LEpAvon
Count, PA. I}

Aul.||Plainti@ jas, RENALDO JOHN SONSENT, IT, whe was housed at S.C.I,- Huntingdon,
lino Pike Street, Huntingalon PA 16GS4

AZ.\\Tiafendants are. all jncorporatec in the Current dlocumenite

Q) Action was filed in the Court of Common Pleas ef LEBANON CounT, PA,
DockKeT * 2OIg-01FOG

3) Assigned. to the best of my Iknewledge , Presiclent Judge John C. Tylwalk
of the Cour tl bf Common Pleas Sor LeBAnen CounTY , PA,
4)| Disposition— Decker ™ goig-oi506 was temoved 4m U.S. Distrret Court Ry the
Mindie pistrete. Plaintre withorew then Docket 12/4 -Cv-0a232_
|
Te
Case 1:20-cv-00392-SES Document 12 Filed 05/14/20 Page 5 of 27

S.| Summons were Filed on August 3/, Aci’,
5. As! Complaint Ciled_in State Court om December 12, AGi4

C.|| Dispesitren of Notice to Remove was on March €, ACA and withdrawn

en March||a3, 2020.

G. B, Theres one Ci) disci iplinary action which deals with the facts anal Circumstances
Lacideat ock ured. on two (2) block within L.C.C.F on March §, ACL?. Plaintv€l was

given wendy (20) days of Disciplinary Custody Time te be sevvect sn the Segregated
Housing Unit CSHU) and Given %& fos = sanction for Administrative Fees.

ue.|| The Following Fecleral Rules, Laws ancl Jor Constitutional Frovisions
were violated :

A. ||\Premises Liabelity

B. || Negligence

Qi Cevil Conspiracy

D: | first Amendment +o the (Larted States Constitution { 1.3.2.)
B, ||FrEth Amendment to the UsS.C-

Fe || Sixth Amendment to the UsS.C¢

Gu | Erghth Amend ment te the UL-S.Ce

H. || Fourteenth Amend ment _to the U.S.C.

LT, ||Americans With Disabilities Act CADA) Amendments Act of Zooe
Rehabilitatten Act

Ya ULS.C.A, % lasoi- /2a13 Referencing Major hike Activities
Constitution of the Commonwealth of Pennsylvania.

|, Article | 34

2 Article 133 | | Pace 5

rim 4
| Case 1:20-cv-00392-SES Document 12. Filed 05/14/20 Page 6 of 27

 

 

 

 

 

 

 

OC 3, Article 13 oe
4, Article 1-34 :
_ 5, Article 43- —_——-
6,Artiele | 8 20 —_——— — —
se A ei eg anf 26 a coeessseeercsree een

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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1)

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downstairs on
one Le) an a.

After speaking to Nurse Garbaz, 2 was sent to two (a) bloc< lecatec
cl _qiven a top bunk. L_ told unknown C.0.s on A-tz shift manaing

 

 

please Counted

dwe Ca) block eoate ; here anal

someone, £ should be housed ja the infirmary, Medrea| Housing

 

Unit (mu), or even the Restricted Houssng Unit CRHU) after showing them —

 

Lar the bottom bunk status, C:O-s - unknewn ignored pleas for

 

 

 

 

the pinl< sli
_Gnother— housing assig nimentts

- Sir was then tld quarintines were to repost back up ste irs 42 the
ym for recteation ancl showers .

 

floor, this wa

A. Z slipped ana feil ena pucelle o€ water ia the middle of the gym —

P, ‘alii

 

 

 

 

 

 

 

were alse en quarintine status. Some of these individuals were also arrivals from the
Scet.c,. These

the central

_ medica z - ne v7 ‘ = ‘

¢
medical sta I

 

Severe pains
ihe Wheel cha

 

 

+aiked about a co

order.

 

 

 

 

 

 

 

 
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Matias & Hes

 

 

 

 

 

o
+ hespi tal stil? weuld have to prescribe it but it
Hlowedl | approved by the L.C.C.% Medical Super v/sor, LPN - Secqueline

 

 

j tal prescribecl Lbu prefen 6co m4- te be taken fener L4) #(mes daily

cliscom forte

 

Lor pain anol

 

 

had. te doth

 

 

wihole process over @gain in teverse Sor my retuca to LC.C.F, L was

 

not hel ped u“

 

f the twe (2) Flights o€ stairs to (atake avea. Once faside, unknown

 

 

 

 

medical ste| and unknown C,0:s ovclerect me to (eturn to my housing QSEtGn wend
Z_was original a l ’ -
another housing unit clue te injuries. Stef refused te cle so.

 

KZ retuned to two (2) block thot was locked down hr the adghh—

 

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he floor +p Ge te slees, t

 

by unknown C.C

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if z refused. This caused sever hi, belo

 

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Pace *

 
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fn. CULINARY department stores tray carts aleng with juice jugs a gym before

ead aft i ee 1 Ce ctle E- clacutne Site aren to Gucuse

 

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M.

 

H. Correctuonal Officer's whe ore assigned the control statien ace to ole _

 

 

Safety and $4

health aud s

sserky checks beCuve ancl aftey use e€ gym +o Leoit + contraband,

Fetsy conditvens / Couceras,

 

 

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|. These areas ¢ e

 

 

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TL. Medicokion Is

 

 

 

 

 

 

 

 

ie, AOI and x peel te submit another sick call request for the
filled.

i ! ‘ s

 

 

 

 

 

 

 

 
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1 Zn the month cf December rT filed an appesl fo Ularden- Robert Karnes _
“who Gailed +o |bespand.s Copy of sar : a 's
not allow me +o make copies prior to Filings

 

 

 

2 On December 13, 2016 7 submited a sic call and reguest to Da. bwes

 

and for Psych |

 

medication rev

OL

a)

ssued, Oa D s

 

S.

Kn own ts be Sarah Ardire Stomo request r sent on November 23, 20lG.

 

she states “W

|b will schedule you to meet with De, Powers, as Soon as we can, '

 

 

 

E. As of December 13,2016 7 have submitted four (4) requests +e Da. Bows

 

 

Sarah Arcdire }

Hhree (3) requests te_medical supervisor - LIN, Jacoue line oe and

4 eol m

 

 

 

 

about th

of my

 

said she Cou

nt do tt, 4p write Mrs. Matias. L tld Mrs. Garbaz thet LT wrote

 

 

Sour C4) dimes

about numerous problems and concerns antt how Mrs. Matias doesnt

 

respon dor

rect the issues,

 

 

Gi. On Decemb

 

‘cal file se LT Co

 

Copying my meet

ancl how they have

 

 

 

 

 

 

 
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tequestse T wre

 

that was +e

 

 

ACL.

 

» December 30, 2616 F submittect request to Mrs. Matias about sssues stated _

 

above . This Widuld only be picked up on Sanuary 3,26i2+ 2 asKect Mrs. Davis for help, t

_askeed if she v

 

and stele call

uid_pleate signa popec that shed persanelly clelivec my request slips) —

 

 

Mrs. Davis on!
she would dra

te Mrs. Matias. She reused fo sign stating to me“ Zt will net do that's
pia ac nea A Dea Eas
? it off in Mrs. Mati as hox. Mrs. Davis refused te help me_obtarn my

 

 

 

 

 

 

medical Erle , pny fall papecwork pertaining te my medical problems and coneevns.
Mes. Matias Never rv | + ; nee
grievance en November 21, 2016.

cy, ate oi Meat «

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Me. Phillips, Gun un Z
thei ins place at the Lebanon County Correctional Facility. No ene has
_ever responded te _imy letter.
9, On r iv : ‘
“tts do early « ; I ¢ (4) (xCe een
Add her my First and Last dose was at i2.t2 Fn, it was now S135 Pm_ancl T was ta pains She
_walYed aw PAGE II

 

 

 
Case 1:20-cv-00392-SES Document 12 Filed 05/14/20 Page 12 of 27

 

(Thu profes Go

 

: /o. March S$, acin_en ef around 9: 30 Pin, my cell was part cf a shake

_*hat was. win tt rs lyf nine

Comes Gow #

 

 

T was relocated upstairs te

 

nt SHi«

 

| ~allscnessact sams pall ta Iga Iicandjut-a ey top bunk.

 

 

Be March 10, gona had a _clisciplinary hearing with MR. Hauck. He

 

fowna me guilty of Possession 0§ Contraband and sentenced me to serve twenty _

 

(ac) days i

- inistrakive Re Gor the miscond usr.

the SHU nd be charged with a twenty-five Cas) cloflar _

 

 

Grom the nurses. never _aot any.
- a} =

 

 

» Maven 26,202 + asked nurse, Knewn as TAMMY whe was deing mecls with

 

 

CoO, Henne if if eoukd 9b a pain reliever for the pain and discomfort rl was having. She

 

 

 

ei ther County r

 

_epldress 45 5

 

L.C.GF,

 

 

 

 

 

 
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lL. A. This Ss

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involved wi

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A. my Cafe anal Cis

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This Carther
Ce cight to ¢
medication Cs

ws that neglect was culpable, willful cnc inexcusable as T Have
onsble standacda of Sacto tha tabiascl 20 inane sud! fac——-

also ca oto

 

 

UB. The events that took place between October 13, 201 ancl March aS, _

 

Deir Ges sed.

 

_chepressien 4S

back, ana

ompl eat ers with my PT. $.D., meatal health condi tien, increased

regs and Unnecessary pain, swelling anol adiscomfart in Knee, Leg and
ther numerous injuries as a result of the accident and subsequent

 

housing iss

Pr Te

 

 

ILC. These events violated Constitutional baw(s, Americans with

 

 

 

 

 

 

 

 

 

 

 

 

“Disabilities Act CADA), 7 Bechakl Lacan Ae scans ae. core and Lfurthe- Jaws
_Gpplicable fo +hese viola h voided 6
stanclard of |eare ancl the following of medical restrictions and medical providers
_orders for cave.

12, From October 13, 2cig untrl March 25, aci2, medical stat? mainly Mas.
Matias, correctional : LE - MR. Folty, ‘strati
_persone\- MR, Kavnes ancl Ma, Haucid , ‘ss cM;
Ma Ames auc Mrs. Litz, county godministreter - MR, Walge math weve notified eadfor
aware of my cliete ict w "

 

 

Ceguest s,I_wa

 

tnd weight Lpss,

_ Which Caused

 

ane

Pace “13

WHhese. conditions menttoned.

 

 

 
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was fefused o

A.B. After receiving an alternative tray at Lunch on Febuary 71,8017 £
& eat ainner by (Ne. Fedtin uthen €.0. Wolfercl called Gr an alternate or blaal

 

troy. Ma. Foltin, tel 20. that £1 didn't eat the tray, i+ was 07 més Lt asKeol
two (a) unknown C.0.'s e ‘tehen ing, that didn't pave meat

 

so x could heve something 4 eat, they sad x was burnt.

 

 

1a.C 2 Febaty Ne 3601=apte te Sehn about mp aig hte el

 

asked if he call spea

mM reviele ‘th

2,

bland tray hapten me rea Sag AR BR —l-Ae-Spenl is

anyone abowt a.

 

oc contre\

C.0, Eby was wotWing +he central control.

 

we bland tvay

that night.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Tudge- John ¢, Tylwal alo, ith ‘osi' r4
a
one stepped i and aid any thing about +hi's abuse,
12.F, During the first week of March 2011, 5 was calleal to the medical dept. by
unknown nursecs}e I was told that my alternative meal will be a sinall can of Ensure at “3.00 cach
which will be 4iven to _me_every merning around 3ioe Am» F peceived G2) because unKnows parties a led

 

+ Hwee (>) cans while r was locched in the SHU clue +e a miscondycte Pact 14
Case 1:20-cv-00392-SES Document 12 Filed 05/14/20 Page 15 of 27

 

_cleprivation &
Curther_vi'olatin

 

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| laws ond numerous civil rights violations celated +o the same aud caused add/tenal

 

 

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13.A, i esc laa a Brian Deicler/cK

 

 

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13.8. This being a clear vielation of my cights uncler the Const tution ef the United

 

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pol Open access fo the courts, and continued Jp occurs

 

 

13.C+ On January 26, 2617 plaintilé received a. clocket sheet along with copies of

 

 

teviewed clocKet

K of Court and (th. Deicherick that plaintifl seat on Tamaoty 18, 2017. Plainti¥?

 

sheet and acted thet Sour Co) lope clacuments {atte ware. act received by —

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e inner - of €ice_ ma// system, whieh is

 

  

 

fie ail toatl adllentaed ds the me This is 4 huge problem for z Am
/se tl sent through the United States

tht ale cn nt ete ns ft or

legal stand avals and Federal Regulations.

    

v ecordgne

 

 

 

 

 

PAGE * IS:

 

 

 
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| |13,.D. Plaintie? spoke 40 C20. Mease whe gave plaintiff Jeqal male Plainti
asked who's yesponsiéle for Legal mail going out, Ma, Mease stated six (€) block i's
respons) ble fok| all inner- of ce mail (Lege! moil)as well as the 1,€.6-F, offje3e Manager,
Mrs. Ceresini held this position at the time and was responsible and [or in charge of all legal
mail going te the courthouse. Six (6) block also handles all out going U.S.P. 5: frette

‘3. E. Febuary 6, aol7 plaintré? wrete Mrs, Davis 4 request to allow a call to
abana “Ma. Peidlericl. (Mrs. Davis wrete back the next day stating“ We de not do personal
calls” - This was to my atterney far lega/ purposes , not persona].

“ack Plainti€t’s cbocket sheet showed Mr. Deidericlk received /etters on
October A6\/2016 and Tanuary /#, 20/7, leHers +e the Clerk ef Court on October
2G, AIC , December Al, 2016 , January 4, 2017 , anol Tanuary /%, 2017. Plarnk' ff
requested ai record of out going correspondences from Mrs. Ceres/ni iin Febuary

Mrs: Ceresin |\wrete clown the dates above and for Letfers plaintiff sent out oa January
31, aolg.

‘|13.G. These actions end in some cases, inactions, by ste@ at LCC. F
are means of a continued campaign of harassment, create gevernmente/ interference,
clear elue process violations, civil rights vi'elations y denial of lesa means [remedy , Right
bo access te phe courts anal other constitutional Jeyal wiolatvons. This misconduct by
stifP at LiCC.F. hes directly ef ected plaintiff's lege/ case and recourse Hereby
Undwhy inflicenciing the amount of time plaint/e is incarcerated for, as well es

causing physical, emehonc/ and mental sufFering whieh i's still ongoing and was
willfully dome by state in disregard of plaintift's rights.

lI PAGE #16
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TVS © October /3, acié , S,AGI7T

 

_B. Place of Evenr¢s): LEBANON County CorkecrronAt FACELETY

 

c. Person (3) Invo.vED - What they ail anol capacities.

 

 

 

L. LEBANON CouNnTY , PENNSYLVANIA - Tnclivi t

 

 

 

 

 

 

‘ Wiliam Ames- Tnatividuel /Ofrcist capacities, allowed vielationds) of the
Constitution of Pre United aoe Constitution of the Commenweslth of Pennsylvania to oceur

 

 

 

stituti : ituti ef Feansytvan/¢ to occur in

“Disabilities Act (ADA). Did not intervene when notified about conolihons and treatment,

 

 

 

 

 

PAGE #77
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OS Tami -
Loguetthution af the United 2S Vi
the LG.0.F This ‘eclodes bul-ac¥ linia dy tetany, ities -, Americ with
Disabilities Act (ADA). Dict not intervene when netified about conditions and treatnrente

 

 

 

 

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Constttution o€ the United fu eunsy Lvania te

 

 

 

 

 

 

 

 

 
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10. Evie Gx Foltin- ke ft cain tet onder as —

violationcsy °f the Cousti e
fennsy \vania @+ LC.CF This, se -bucenciohc mak. Wott ete ncapenina-enadfneeec.tal-neb Teves

er _reckity issuecsy with plaintiCl's clietavy restrictions. Premis es Liability.

 

   

 

 

 

 

of Pennsy}vania at L.C.C,F this i e wa yy ec/ eee

premises jiabiliky, Dick not intervene ar rechty plointi€ts diehac y restrichonse —

 

 

 

 

was still contracted, at b.C.C.F,

 

 

13. Sarah Ardire-Indlivi’ ‘el CH ‘o 2 ‘ of

 

 

_orescriph ‘ : Fer erous ‘fi ‘onSe

 

 

 

 

 

 
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IS, Sohn Santoni- tndividuel/ottialal capacihies, allowed onder took pert jn

—wielationts) o£ dhe Constitution of the United Stotes and Constitution of the Commonwealth of _
Fennsylvaniqa. while employed as Serg eant at LCC. This includes bat not lmitecl to, civil

 

~Renabiena oar Se

 

 

 

 

 

 

 

{2 Cottecional Officer Known as Naser or Nasir: Lnalividual [obtr'e ‘el Capaubes,
ales soi het pack nwa of de Canetti ab te lated Ste and the Const futon

monw tok Y reety’ es FEE

 

 

 

 

 

 

 

 

s) of ‘Ted Uni he stitution of th mineaweels> of

Pennsylvanic at L,C.C,F This includes but pot Awteel fo, civil Conepleae Vy negligence, Aunenicans

 

 

 

 
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20. Nurse Known as Tammy= tndividual fobéiciel capacihies, allowed or took partyin
_violation(s) af the Constitution ef the United States anal Constitution of the Common wealph
of Pennsylvania at L.¢.GF, This inelucdes but not Limited to, civil Conspiracy, negligence,
_Americons with Disabilities Act (ADA). Rehab é li

 

 

 

 

 

 

 

 

 

 

 

 

March aS, 2oir, This ineludes but net Jy mted fe, sia Conspiracy , negli ‘gence, Americans with
_Disabilihies Act CAdA), Rehchilitzton £ : fee

  

 

 

 

 

 

PAGE *®A2T
Case 1:20-cv-00392-SES Document 12 Filed 05/14/20 Page 22 of 27

 

24. Unknown Correchional Officers - Individual Lofbreral capacities, allowed andfor took

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130 2. Walnut St. Lebanon, Pa_12042

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
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VL. Revrer - = aa Bile : chy

being performed in regards to inner-olCice / legal mail? A seperate secure box or secure mail
bag 42 be located on each housing unit, accessible +o the inmates, which Limits access to

 

 

 

 

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‘inca, sch gle datas apesjitc tl Plainti’s cave at 1,.€.F, or in the

 

Cave of LC iE

 
Case 1:20-cv-00392-SES Document 12 Filed 05/14/20 Page 24 of 27

a Defendant(s) serv/'ce, whyeh

any/all feeis) from the U.S. Marshall's services

 

 

 

 

 

 

 

Punitive Damages # 75,000 Mo per defendant
re ompensatory Pamages Als 200° %o pec ad efendant
Nominal Damages 125, 000°%o per chefencdant

Any/All other relief cleemed just and_spprepriate by ths Honerable Court in_relatren #
v/ Al

 

 

 

 

 

 

 

 

 

Dy ei ety’ : ainti F's case,

 

 

TL, RENALDO SOHN SONSINI, £, Plaint'ff in the above captrened matter do hereby claim —

 
Case 1:20-cv-00392-SES Document 12 Filed 05/14/20 Page 25 of 27

 

 

 

 

 

 

 

 

 

 

__PERTURY THAT THE FOREGOING ZS TRUE AND Correcr To THE BEST OF MY KNOWLEDGE AND _
BELIEF,
________Daren: May 4, 2020 Js, ‘nella, Peni, Te, Fes Se
ARENALDO SeHN SonSINTZ, fro Se
Gu SXAG
ScI- Greene
16% Progress Dr:

 

 

Waynesburg , PA_/1S370

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
~ Case 1:20-cv-00392-SES Document 12 Filed 05/14/20 Page 26 of 27

PROOF OF SERVICE

lL, HewatDo JoHN Senstnt, tr, , do hereby certify that | have served true and

correct copy of the foregoing Petition / Motion / Brief, to the parties and in the manner

listed below... This service satifies the requirements of the Pa.R.Crim.P. 576 and

577. This service also satisfies the requirements of the Prisoner's Mailbox Act;

Commonwealth v. Jones, 700 A.2d 423 (1997), and Houston v. Lack, 487 US

266, 108 S.Ct. 2379 (1988).
Service by First Class Mail:

uted States Disirict Court

Diddle Distucd of Feunsylvaw's,

U.S, Ceurthense, Sarte Ale
gue west Thiral Street

Williams poyd , PA (770 1- BY GO.

 

 

 

 

Date; Mey 7 ; ACRO

Matnew ‘R. Chay BERGER ,ES@-
305 North Frent Street
Hare's burg PA 17/101 _-

 

 

 

 

 

aus asm TL, fro Se

 

4 ENALDO SoHN CONSENT. tt, fro Se

DOC# GU $249
SCl-Greene

175 Progress Drive
‘Waynesburg, PA 15370
Case 1:20-cv-00392-SES Document 12 Filed 05/14/20 Page 27 of 27

Adcnarve GoNSENE IE
Tnmete # GU SFAY
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eat Progress Drive

Waynesburg ; PA 15370

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MAY 14 2020
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